Case 1:05-cr-10042-.]DT Document 6 Filed 07/12/05 Page 1 of 2 Page|D 6

  

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UNITED STATES DISTRICT COURT ' ~~1 f - ~ a
WESTERN I)ISTRICT 0F TENNESSEE ,_
Eastern Division 63 ~ll-ll_ 62 PH 25 59
uNlTEo sTATEs oF AMERICA ' G: T.'?iotiij
" d.S. DlSE-. CT.
-vs- ease No. 1. 05¢1"10042 66“1»’*°'1€` ti$‘i"l"-l

LARRY JONES

 

ORDER APPOIN']`ING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Coul‘t makes the following appointment pursuant to the Criminal Justice Act (l 8 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APP()INTMENT
~ All purposes including trial and appeal
DONE and ORDERED in ll l South Highland, Jackson, TN, this 12th day ofJuly, 2005.

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S THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Oft`lce

Assistant Federal Public Defender

Thfs document entered on the docket sheet In compliance
w|th Hule 55 andfor 32{b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10042 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Ste. B-S

Jacl<son7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

